       Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 1 of 19                        FILED
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                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

BARRY TAUL, ex rel., UNITED                 )
STATES OF AMERICA,                          )
                                            )
       Plaintiff,                           )
                                            )
v.                                          ) Case No.: 2:14-CV-0061-VEH
                                            )
NAGEL ENTERPRISES, INC., et                 )
al.,                                        )
                                            )
       Defendants.                          )


                    MEMORANDUM OPINION AND ORDER

       This is a civil action initiated by Plaintiff Barry Taul, ex rel., United States

of America, against Defendants Nagel Enterprises, Inc., and Jed Nagel. However,

on October 21, 2018, Mr. Nagel died. (See doc. 233-1 at 1) (see also doc. 225-1 at

2-3). Mr. Nagel died intestate, and, at the time of his death, he was domiciled in

Michigan. (See doc. 233-2 at 3). On November 27, 2018, a Michigan probate court

appointed one of his daughters, Laura E. Nagel, as the personal representative for

his Estate. (Id.)

       Before the Court are four motions: (1) Plaintiff’s Motion To Substitute

Party Defendant and Appoint Administrator Ad Litem (doc. 226) (the “Motion To

Appoint Administrator Ad Litem”) filed on November 5, 2018; (2) Plaintiff’s
            Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 2 of 19




Supplemental Motion To Substitute Party Defendant and Appoint Administrator

Ad Litem (doc. 230) (the “Supplemental Motion To Appoint Administrator Ad

Litem”) filed on December 3, 2018; (3) Laura E. Nagel’s Motion for Substitution

(doc. 233) filed on December 19, 2018; and (4) Plaintiff’s Renewed Motion To

Substitute Party Defendant and Appoint Administrator Ad Litem (doc. 234) (the

“Renewed Motion To Appoint Administrator Ad Litem”) filed on December 20,

2018.

        Because Plaintiff filed his Renewed Motion To Appoint Administrator Ad

Litem, which includes the arguments he made in his previous two motions, his

Motion To Appoint Administrator Ad Litem and his Supplemental Motion To

Appoint Administrator Ad Litem are DENIED AS MOOT.1

        This leaves two motions for the Court to rule on: Ms. Nagel’s Motion for

Substitution and Plaintiff’s Renewed Motion To Appoint Administrator Ad Litem.

        In her Motion for Substitution, Ms. Nagel requests that the Court, pursuant


        1
           More specifically, Plaintiff’s Motion To Appoint Administrator Ad Litem was filed
before Ms. Nagel was appointed personal representative of Mr. Nagel’s Estate. (See Docket
Sheet). Thus, it is moot to the extent it requests that the Court appoint an administrator ad litem
because “there [was] no known personal representative.” (See doc. 226 at 2, ¶ 3). To the extent
Plaintiff’s Motion To Appoint Administrator Ad Litem and his Supplemental Motion To Appoint
Administrator Ad Litem request that the Court appoint an administrator ad litem because no
ancillary estates have been opened in Alabama and Georgia and thus there are no personal
representatives for those estates, these motions are moot because Plaintiff makes the same
argument in his Renewed Motion To Appoint Administrator Ad Litem. (See doc. 226; doc. 230;
doc. 234 at 4, ¶ 14).

                                                2
              Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 3 of 19




to Federal Rule of Civil Procedure 25(a) “substitute[]” “Laura E. Nagel, as

personal representative of the Estate of Jed Nagel, . . . for [Mr. Nagel].” (Doc. 233

at 2).2

          In his Renewed Motion To Appoint Administrator Ad Litem, Plaintiff

requests that the Court, pursuant to Federal Rule of Civil Procedure 25(a) and

Alabama Code § 43-2-250, “substitut[e] [Mr. Nagel] with an administrator ad

litem as a party defendant.” (Doc. 234 at 5).

          For the reasons stated in this Opinion, Ms. Nagel’s Motion for Substitution

is due to be GRANTED, and Plaintiff’s Renewed Motion To Appoint

Administrator Ad Litem is due to be DENIED.

I.        STANDARD

          Federal Rule of Civil Procedure 25(a) provides in relevant part as follows:

          (a) Death.

                   (1) Substitution if the Claim Is Not Extinguished. If a party
                   dies and the claim is not extinguished, the court may order
                   substitution of the proper party. A motion for substitution may
                   be made by any party or by the decedent’s successor or

          2
          In the opening paragraph of her Motion for Substitution, Ms. Nagel requests that the
Court “substitute the Estate of Jed Nagel for defendant Jed Nagel.” (Doc. 233 at 1). The Court
cannot do so because “[a] decedent’s estate is not a legal entity.” 31 Am. Jur. 2d Executors and
Administrators § 3. However, in the Wherefore Clause of her Motion for Substitution, Ms. Nagel
requests that she be substituted for Mr. Nagel. (Doc. 233 at 2). The Court will treat the
Wherefore Clause as controlling and construe the Motion for Substitution as requesting that Ms.
Nagel, as personal representative of the Estate of Jed Nagel, be substituted for Mr. Nagel.

                                               3
       Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 4 of 19




             representative. If the motion is not made within 90 days after
             service of a statement noting the death, the action by or against
             the decedent must be dismissed.

             ...

             (3) Service. A motion to substitute, together with a notice of
             hearing, must be served on the parties as provided in Rule 5
             and on nonparties as provided in Rule 4. A statement noting
             death must be served in the same manner. Service may be made
             in any judicial district.

FED. R. CIV. P. 25(a)(1), (a)(3).

      Alabama Code § 43-2-250 provides as follows:

      When, in any proceeding in any court, the estate of a deceased person
      must be represented, and there is no executor or administrator of such
      estate, or he is interested adversely thereto, it shall be the duty of the
      court to appoint an administrator ad litem of such estate for the
      particular proceeding, without bond, whenever the facts rendering
      such appointment necessary shall appear in the record of such case or
      shall be made known to the court by the affidavit of any person
      interested therein.

Ala. Code § 43-2-250. In construing Alabama Code § 43-2-250, the Supreme

Court of Alabama has noted its limited application:

      [T]he strict interpretation of § 43–2–250 admits of two, and only two,
      circumstances where it is appropriate for a court to appoint an
      administrator ad litem. The first is when the estate of a deceased
      person must be represented and there is no executor or administrator
      of such estate; the second is when the estate of a deceased person
      must be represented and the executor or administrator is interested
      adversely to the estate.



                                          4
       Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 5 of 19




Golden Gate Nat’l Senior Care, LLC v. Roser, 94 So. 3d 365, 370 (Ala. 2012)

(emphases omitted).

II.   ANALYSIS

      The Court notes that the disagreement between Plaintiff and Ms. Nagel is

about the “proper party” who should be substituted as a party defendant. See FED.

R. CIV. P. 25(a)(1). However, the Court will first address whether the motions

have met Rule 25(a)’s procedural requirements. The Court will then address who

should be substituted for Mr. Nagel as a party defendant.

      A.     Rule 25(a)’s Procedural Requirements Are Met

      Rule 25(a) contains four procedural requirements: (1) the claim is not

extinguished by the party’s death; (2) the motion for substitution is made by the

proper person; (3) the motion for substitution is timely; and (4) the motion for

substitution was properly served. See id.

             1.    The False Claims Act Claims Were Not Extinguished by
                   Mr. Nagel’s Death

      The first requirement is that “the claim [must not be] extinguished” by the

party’s death. FED. R. CIV. P. 25(a)(1). Here, the False Claims Act claims brought

against Mr. Nagel survive his death. See United States v. NEC Corp., 11 F.3d 136,

137 (11th Cir. 1993) (noting that “the FCA is remedial with respect to the


                                            5
       Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 6 of 19




government’s recovery against the defendant” and thus False Claims Act claims

survive the defendant’s death). Accordingly, this first requirement is met.

             2.    Both Motions Were Made By a Proper Person

      The second requirement is that the motion must be made by the proper

person. See FED. R. CIV. P. 25(a)(1). More specifically, the motion must “be made

by any party or by the decedent’s successor or representative.” Id. Here, Ms.

Nagel’s Motion for Substitution was brought by Ms. Nagel, who is the personal

representative of Mr. Nagel’s Estate. Plaintiff’s Renewed Motion To Appoint

Administrator Ad Litem was brought by Plaintiff, who is a party. Accordingly,

both motions meet this second requirement.

             3.    Both Motions Are Timely

      The third requirement is that the motion must be timely. See id. More

specifically, the motion must be “made within 90 days after service of a statement

noting the death” of the party. Id. This ninety-day period does not begin to run

until “a notice of death is filed and properly served.” See Lizarazo v. Miami-Dade

Corr. & Rehab. Dep’t, 878 F.3d 1008, 1011 (11th Cir. 2017); see also FED. R. CIV.

P. 25(a)(1), (a)(3); Schmidt v. Merrill Lynch Tr. Co., No. 07-382, 2008 WL

2694891, at *2-3 (M.D. Fla. June 30, 2008). Service is proper if the notice of

death is served “on the parties as provided in Rule 5 and on nonparties as provided

                                         6
       Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 7 of 19




in Rule 4.” FED. R. CIV. P. 25(a)(3). The nonparties that must be served are those

“with a significant financial interest in the case, namely the decedent’s successors

(if his estate has been distributed) or personal representative ([if] it has not been).”

Breen v. Chao, 322 F.R.D. 427, 430 (D.D.C. 2017) (alteration in original) (quoting

Atkins v. City of Chicago, 547 F.3d 869, 873 (7th Cir. 2008)).

      Here, Plaintiff filed a Suggestion of Death (doc. 225) into the record on

November 2, 2018. However, the record does not indicate that the Suggestion of

Death was served on any nonparties as provided in Rule 4. (See Docket Sheet).

Instead, the record only indicates that the Suggestion of Death was served on the

attorneys for Defendants as provided in Rule 5. (See doc. 225 at 2). Therefore, the

ninety-day period never began to run, and both motions are timely. Alternatively,

even if the ninety-day period did begin to run on November 2, 2018, both motions

are still timely because they were filed in December, which is before the ninety-

day period ran. Accordingly, both motions meet this third requirement.

             4.     Ms. Nagel’s Motion for Substitution Was Properly Served,
                    and the Court Will Assume That Plaintiff’s Renewed
                    Motion To Appoint Administrator Ad Litem Was Properly
                    Served

      The fourth requirement is that the motion must be properly served. See FED.

R. CIV. P. 25(a)(3). More specifically, the “motion to substitute[] . . . must be



                                           7
       Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 8 of 19




served on the parties as provided in Rule 5 and on nonparties as provided in Rule

4.” Id. The Court notes that, in this case, there are two parties—(1) Plaintiff and

(2) Defendant Nagel Enterprises, Inc.—and one nonparty—(3) Ms. Nagel—that

must have been served.

      For Ms. Nagel’s Motion for Substitution, Ms. Nagel had to serve Plaintiff

and Defendant Nagel Enterprises, Inc. Because they are both parties, Ms. Nagel

only had to serve them as provided in Rule 5, which she did. (See doc. 233 at 3).

Accordingly, Ms. Nagel’s Motion for Substitution meets the fourth requirement.

      For Plaintiff’s Renewed Motion To Appoint Administrator Ad Litem,

Plaintiff had to serve Defendant Nagel Enterprises, Inc., and Ms. Nagel. Here, the

record only indicates that service was made “using the CM/ECF system.” (See

doc. 234 at 6). Because Defendant Nagel Enterprises, Inc., is a party, Plaintiff only

had to serve it as provided in Rule 5, which he did. (See id.) However, because

Ms. Nagel was a nonparty at the time of service, she had to be served as provided

in Rule 4. While Plaintiff makes no representations that he served Ms. Nagel as

provided in Rule 4, the Court recognizes that this is an unusual case because Ms.

Nagel was already represented by counsel and had filed her own motion. Further,

Ms. Nagel does not object to service. Accordingly, the Court will assume without




                                          8
           Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 9 of 19




deciding that Plaintiff also properly served Ms. Nagel.3

       B.       The Court Will Grant Ms. Nagel’s Motion for Substitution and
                Deny Plaintiff’s Renewed Motion To Appoint Administrator Ad
                Litem Because Ms. Nagel—Not an Administrator Ad Litem—Is
                the Proper Party To Be Substituted for Mr. Nagel

       Because the Court has addressed Rule 25(a)’s procedural requirements, the

Court will now determine who should be substituted as a party defendant. Rule

25(a)(1) states that “the court may order substitution of the proper party.” Ms.

Nagel argues in her Motion for Substitution that she “is due to be substituted for

[Mr. Nagel].” (Doc. 233 at 2). However, Plaintiff argues in his Renewed Motion

To Appoint Administrator Ad Litem that the Court should appoint and substitute

an administrator ad litem. (Doc. 234 at 5). The Court agrees with Ms. Nagel and

will substitute Ms. Nagel, as personal representative of the Estate of Jed Nagel, for

Mr. Nagel.

       The Court will first address why it will substitute Ms. Nagel. The Court will

then address why it will not appoint or substitute an administrator ad litem.

                1.    The Court Will Substitute Ms. Nagel

       Attached to Ms. Nagel’s Motion for Substitution are Letters of Authority


       3
         Because the Court will deny Plaintiff’s Renewed Motion To Appoint Administrator Ad
Litem on the grounds that Plaintiff has failed to show that the Court must appoint an
administrator ad litem in this case, see infra Section II.B, the Court does not need to decide
whether service was proper.

                                              9
      Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 10 of 19




(doc. 233-2) that were issued by a Michigan probate court and that name her the

personal representative of the Estate of Jed Nagel. (See id. at 1, 3). Further, as the

Court will explain later when addressing Plaintiff’s Renewed Motion To Appoint

Administrator Ad Litem, Plaintiff has failed to show that Ms. Nagel is not the

proper party to be substituted. Accordingly, the Court finds that Ms. Nagel is the

proper party and will substitute her for Mr. Nagel. See Blevins v. Aksut, No.

15-120, 2017 WL 6030080, at *7 (S.D. Ala. Nov. 17, 2017) (“In the motion to

substitute filed on July 31, 2017[] . . . ., counsel moves to substitute Jeanette Curry

as the personal representative for Ruby Mae Kinney in this case, and attaches

Letters of Administration recognizing Ms. Curry as the personal representative of

Plaintiff Kinney's estate. . . . Therefore, under Rule 25, Ms. Curry is entitled to be

substituted as Ms. Kinney's personal representative and as the proper party in this

action.” (citation omitted)), report and recommendation adopted, No. 15-120, 2017

WL 6029609 (S.D. Ala. Dec. 4, 2017).

             2.     The Court Will Not Appoint or Substitute an Administrator
                    Ad Litem

      The Court first notes that no administrator ad litem has been appointed by

any state probate court. Thus, the only way for the Court to substitute an

administrator ad litem for Mr. Nagel at this time would be if the Court were to



                                          10
      Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 11 of 19




appoint an administrator ad litem. Plaintiff only cites Alabama Code § 43-2-250 in

support of his request that the Court appoint an administrator ad litem. (See doc.

234). However, the Court will not do so for two alternative reasons. First, Plaintiff

cites no legal authority and presents no argument as to why Alabama Code

§ 43-2-250 applies in federal court. Alternatively, assuming that Alabama Code

§ 43-2-250 does apply in federal court, Plaintiff has failed to show that its

requirements are met.

                    a.    Plaintiff Cites No Legal Authority for Why Alabama
                          Code § 43-2-250 Applies in Federal Court

      First, Plaintiff cites no legal authority and presents no argument as to why

Alabama Code § 43-2-250 applies in federal court and authorizes this Court to

appoint an administrator ad litem. Accordingly, this issue is waived. Patrick v.

City of Birmingham, No. 09-1825, 2010 WL 11468979, at *2 (N.D. Ala. Oct. 28,

2010) (“[T]he failure to reference any legal authority constitutes an undeveloped

argument and waives the issue.” (citing Flanigan's Enters., Inc. v. Fulton Cty., 242

F.3d 976, 987 n.16 (11th Cir. 2001) (holding that a party waives an argument if

the party “fail[s] to elaborate or provide any citation of authority in support” of the

argument); Ordower v. Feldman, 826 F.2d 1569, 1576 (7th Cir. 1987) (stating that

an argument made without citation to authority is insufficient to raise an issue



                                          11
       Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 12 of 19




before the court))). In fact, “[t]he prayer to appoint an ‘administrator ad litem’ to

represent the estate is perhaps unavailable in a federal court.” Strickland v. Peters,

120 F.2d 53, 56 (5th Cir. 1941);4 see also Smith v. Schneider Nat’l Carriers, Inc.,

No. 09-658, 2009 WL 10703357, at *1 n.1 (N.D. Ala. July 15, 2009)

(distinguishing and finding unpersuasive the cases the plaintiff cited to show that

Alabama Code § 43-2-250 applies in federal court).

                      b.     Alternatively, Plaintiff has failed to show that the
                             requirements of Alabama Code § 43-2-250 are met

       Alternatively, assuming that Alabama Code § 43-2-250 does apply in

federal court, Plaintiff has failed to show that its requirements are met. In

Plaintiff’s Renewed Motion To Appoint Administrator Ad Litem and in the

attached Affidavit (doc. 234-2) of Larry A. Golston, Jr., who is Plaintiff’s counsel,

Plaintiff and his attorney present two arguments as to why, under Alabama Code

§ 43-2-250, an administrator ad litem is necessary here. The first argument is that

Ms. Nagel is “interested adversely to the estate of Jed L. Nagel.” (Doc. 234 at 3,

¶¶ 6-13, 15). The second argument is that Ms. Nagel has only opened an estate in

Michigan but has not opened any ancillary estates in Alabama or Georgia, where


       4
           This is binding authority in the Eleventh Circuit. See Bonner v. City of Prichard, 661
F.2d 1206, 1207 (11th Cir. 1981) (holding that decisions of the former Fifth Circuit handed down
prior to the close of business on September 30, 1981, are binding on all federal courts in the
Eleventh Circuit).

                                               12
      Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 13 of 19




Mr. Nagel owned real property, and an administrator ad litem could open such

ancillary estates. (Doc. 234 at 3, ¶ 14; doc. 234-2 at 2-4, ¶¶ 1-3). The Court will

address these arguments in turn.

                          i.     Ms. Nagel Is Not Interested Adversely to Mr.
                                 Nagel’s Estate

      Plaintiff’s argument that Ms. Nagel is interested adversely to Mr. Nagel’s

Estate is as follows:

             12. Clearly, [Laura] E. Nagel is interested adversely to the
      Estate of Jed L. Nagel. As a judgment creditor, the judgment obtained
      in this Court by United States Government (and the Relator) against
      Defendant is due to be satisfied from Nagel’s estate.

             13. However, as one of three heirs of Nagel who may be
      entitled to receive a portion of his estate through intestacy laws,
      [Laura] Nagel has interest adverse to the estate. Simply put, Ms.
      Nagel’s interest as a beneficiary of the estate are squarely at odds
      with her responsibility to ensure judgment creditors are paid prior to
      any disbursement of proceeds to Jed Nagel’s heirs.

             15. In asking this Court to substitute the Michigan Estate of
      Jed L. Nagel for Defendant Nagel (an estate in which [Laura] Nagel
      has been appointed as personal representative), Ms. Nagel is asking
      this Court to simply trust that she can and will put the interest of said
      estate (i.e. paying the estate’s creditors) ahead of her own interest as a
      beneficiary (i.e. receiving the most amount possible from her father’s
      estate). This Court should reject Ms. Nagel’s motion and appoint an
      Administrator Ad Litem.

(Doc. 234 at 4-5, ¶¶ 12-13, 15).

      The Court notes that Plaintiff fails to provide any legal authority as to why

                                          13
      Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 14 of 19




Ms. Nagel’s status as one of Mr. Nagel’s heirs makes her “interested adversely” to

Mr. Nagel’s Estate as contemplated by Alabama Code § 43-2-250. (See doc. 234).

“[T]he failure to reference any legal authority constitutes an undeveloped

argument and waives the issue.” Patrick, 2010 WL 11468979, at *2. Accordingly,

the Court rejects Plaintiff’s argument for this reason.

      Alternatively, the Court rejects Plaintiff’s argument because it finds that Ms.

Nagel is not “interested adversely” to the Estate. However, the Court first notes

that it is not sure what exactly Plaintiff is arguing. Therefore, the Court will

construe Plaintiff’s argument in two ways. The Court will first construe Plaintiff’s

argument to be that Ms. Nagel is “interested adversely” to the Estate because,

since she is one of Mr. Nagel’s heirs, she may neglect her duty to pay the Estate’s

judgment creditors first and instead may pay the Estate’s successors first. The

Court rejects this argument. Plaintiff cites no authority for his argument that a

personal representative is “interested adversely” to an estate when the estate has

judgment creditors and the personal representative is an heir. Further, the Court

will not find that Ms. Nagel is “interested adversely” to the Estate based on

Plaintiff’s unsupported concern that Ms. Nagel will neglect her duty. See Thames

v. Thames, 183 So. 3d 168, 181 (Ala. Civ. App. 2015) (affirming a probate court’s

appointment of a personal representative instead of an administrator ad litem

                                          14
      Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 15 of 19




because there were “no[] alleg[ations] [of] any specific wrongdoing on the part of

[the personal representative]” and because a court “is not required to assume that a

personal representative will breach” her duty to the estate).

      The Court will next construe Plaintiff’s argument to be that Ms. Nagel is

“interested adversely” to the Estate because, since she is one of Mr. Nagel’s heirs,

she will want to pay the judgment creditors as little as possible. The Court also

rejects this argument. It is black letter law that, “[g]enerally, an administrator ad

litem is a fiduciary charged with acting in the best interests of the successors to an

estate.” Campbell v. J.R.C., No. 17-385, 2018 WL 5094997, at *7 (Ala. Oct. 19,

2018) (Bolin, J., concurring in the result) (emphasis omitted) (quoting 31 Am. Jur.

2d Executors and Administrators § 1050 (2002)). Clearly, it is in the best interests

of the successors of Mr. Nagel’s Estate that the judgment creditors be paid as little

as possible so that more is left for them. Accordingly, the fact that Ms. Nagel, as

one of Mr. Nagel’s three heirs, would like to pay the judgment creditors as little as

possible does not mean that she is interested adversely to the Estate. Quite to the

contrary, it means that her interests are aligned with the Estate’s interest.

                           ii.   The Appointment of an Administrator Ad Litem by
                                 a Federal Court Is Not Necessary When No
                                 Ancillary Estates Have Been Opened

      Again, the Court notes that Plaintiff fails to provide any legal authority as to

                                           15
       Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 16 of 19




why the appointment an administrator ad litem by a federal court is necessary

when no ancillary estates have been opened. “[T]he failure to reference any legal

authority constitutes an undeveloped argument and waives the issue.” Patrick,

2010 WL 11468979, at *2. Accordingly, the Court rejects Plaintiff’s argument for

this reason.

       Alternatively, the Court rejects Plaintiff’s argument because it is not

necessary for a federal court to appoint an administrator ad litem when no

ancillary estates have been opened. This is because, even if this Court were to

appoint an administrator ad litem, the administrator ad litem would be appointed

“only for the limited purpose of representing the [Estate of Mr. Nagel] in this

case” and not for the purpose of opening any ancillary estates. Great Am. Ins. Co.

v. Am. Owens, Inc., 425 F. Supp. 2d 1278, 1280 (M.D. Ala. 2006). More

specifically, in Great American Insurance Co., the federal district court had

previously appointed an administrator ad litem5 and had to address whether the

administrator ad litem could recover $16,833.41 in fees and expenses. Id. at 1279-


       5
          The Court notes that in Great American Insurance Co., a federal district court
appointed an administrator ad litem. Notably, however, the district court noted that “Alabama
Code § 43-2-250 was incorrectly cited as authority for the [motion to appoint an administrator ad
litem].” 425 F. Supp. 2d at 1279. The district court never clarified what the correct authority was.
Accordingly, especially since Plaintiff did not cite this case (or any case), this does not change
the Court’s analysis earlier in this Opinion regarding the applicability of Alabama Code
§ 43-2-250 in federal court.

                                                16
      Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 17 of 19




80. The Plaintiff argued that “no fees should be awarded” because “the

Administrator Ad Litem did not discharge all of her duties to open the estate and

locate estate assets.” Id. at 1280. “The Administrator Ad Litem . . . responded that

she was not responsible for opening an estate under the scope of her

responsibilities as defined in Ala.Code § 43-2-250.” Id. In analyzing the issue, the

district court stated as follows:

             The court agrees that the duties identified by [the plaintiff][,
      including opening the estate,] were not contemplated by the
      statute . . . . [T]he Administrator Ad Litem was appointed only for the
      limited purpose of representing the Estate of F. Neal Owens in this
      case, pursuant to Ala.Code § 43-2-250. She was not appointed a
      general Administrator by a Probate Court. Her duties were limited to
      those set out in the statute under which she was appointed. [The
      plaintiff] has confused the role of Administrator Ad Litem under
      § 43-2-250 with that of a general Administrator appointed by a state
      Probate Court under Ala.Code § 43-2-42.

Id. (emphases added).

      Further, to the extent Plaintiff is arguing that the ancillary estates in

Alabama and Georgia should be represented in this action, in addition to the

domiciliary estate in Michigan being represented, the Court notes that Plaintiff

cites no authority for this argument. Therefore, this argument is waived. Patrick,

2010 WL 11468979, at *2. Further, Plaintiff states that ancillary estates in

Alabama and Georgia have not been opened (doc. 234 at 4, ¶ 14), and the Court



                                          17
       Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 18 of 19




will not appoint an administrator ad litem to represent estates that have not been

opened.

       Accordingly, even assuming that Alabama Code § 43-2-250 applies in

federal court, its requirements have not been met.

III.   CONCLUSION

       For the reasons stated above, it is ORDERED, ADJUDGED, and

DECREED as follows:

       1.    Plaintiff’s Motion To Appoint Administrator Ad Litem is DENIED

             AS MOOT.

       2.    Plaintiff’s Supplemental Motion To Appoint Administrator Ad Litem

             is DENIED AS MOOT.

       3.    Plaintiff’s Renewed Motion To Appoint Administrator Ad Litem is

             DENIED.

       4.    Ms. Nagel’s Motion for Substitution is GRANTED.

       5.    Laura E. Nagel, as personal representative of the Estate of Jed Nagel,

             is SUBSTITUTED for Jed Nagel as a party defendant.




                                         18
Case 2:14-cv-00061-VEH Document 235 Filed 02/20/19 Page 19 of 19




DONE and ORDERED this the 20th day of February, 2019.



                                    VIRGINIA EMERSON HOPKINS
                                    Senior United States District Judge




                               19
